Case 18-06044-LT11    Filed 03/23/20   Entered 03/23/20 18:06:05   Doc 609     Pg. 1 of 7



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      Attorneys for Creditor JACK SCHINDLER
  7

  8                      UNITED STATES BANKRUPTCY COURT
  9              SOUTHERN DISTRICT OF CALIFORNIA – SAN DIEGO
 10
      In re                                            Case No. 18-06044-LT11
 11
                                                       Chapter 11
 12
      JESSE WAYNE DAWBER, an individual,               [Substantively Consolidated]
 13
                          Debtor.                      JACK SCHINDLER’S STATUS
 14                                                    REPORT
 15
                                                 Judge:        Hon, Laura Taylor
 16   CLASS WAR, INC., a California corporation, Dept.:        3, Room 129
                                                 Date:         April 1, 2020
 17       Member Case No. 19-00293-LT11          Time:         10:00 a.m.
 18                                                    [Telephonic Hearing]
 19

 20           Jack Schindler (“Schindler”) respectfully submits this Status Report with
 21   respect to matters scheduled before this Court on April 1, 2020:
 22                                             I.
 23                                        PREFACE
 24           The Trustee filed a comprehensive Status Report which provides substantial
 25   detail concerning the matters on calendar for April 1, 2020. Schindler, therefore,
 26   will not reiterate information provided by the Trustee but will, instead, set forth his
 27   understanding of, and position on, these matters.
 28   ///

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                        SCHINDLER’S STATUS REPORT FOR APRIL 1, 2020 HEARINGS
Case 18-06044-LT11     Filed 03/23/20   Entered 03/23/20 18:06:05     Doc 609    Pg. 2 of 7



  1                                               II.
  2                                     INTRODUCTION
  3         This Court has five (5) motions on calendar for April 1, 2020. Three (3) of
  4   these seek Court approval under FRBP 9019 for settlements the Trustee reached
  5   with firms/attorneys which had potential claims against the Estate for services
  6   rendered to one or both Debtors. The three settling factions are: (1) Hogan
  7   Lovells/Michael Turrill (collectively, “Hogan Lovells”), (2) Arent Fox/Aram
  8   Ordubegian/Douglas Flahaut (collectively, “Arent Fox”), and (3) Solomon
  9   Ward/Michael Breslauer (collectively, “Solomon Ward”).
 10         The other two (2) motions seek Court approval of: (1) a First Amendment to
 11   the Schindler Settlement Agreement (the “First Amendment”), and (2) a Second
 12   Amendment to the Schindler Settlement Agreement (the “Second Amendment”).
 13   The First Amendment relates to the Trustee’s settlement with Hogan Lovells, while
 14   the Second Amendment relates to the Trustee’s Solomon Ward settlement. As set
 15   forth below in more detail, Schindler’s agreement not to oppose the Hogan Lovells
 16   settlement motion is predicated upon approval of the First Amendment. Similarly,
 17   Schindler’s agreement not to oppose the Solomon Ward settlement is contingent
 18   upon this Court’s approval of the Second Amendment.
 19         While the settlement agreements the Trustee has reached with these potential
 20   fee claimants do not purport to release any claims Schindler might have Schindler
 21   asserts that, even if such language was present, the Trustee could not release any
 22   rights Schindler may or might have against these claimants or anyone else.
 23   Schindler is not a party to the Trustee’s settlement agreements with these fee
 24   claimants and no party asserts that the Trustee’s release in the respective settlement
 25   agreements does or can affect Schindler’s rights, if any, against these claimants or
 26   any other third parties.1
 27

 28   1
       Schindler is obliged under the Second Amendment, however, to withdraw his Sanctions Motion
      as against Solomon Ward with prejudice.
                                                  2
                         SCHINDLER’S STATUS REPORT FOR APRIL 1, 2020 HEARINGS
Case 18-06044-LT11   Filed 03/23/20   Entered 03/23/20 18:06:05   Doc 609     Pg. 3 of 7



  1         In addition to these motions, an evidentiary hearing on Schindler’s Sanctions
  2   Motion with respect to Solomon Ward was scheduled for April 1, 2020. By Order
  3   dated March 11, 2020 [Dkt. 599], this Court continued the evidentiary hearing on
  4   Schindler’s Sanctions Motion as against Solomon Ward to June 10, 2020, with the
  5   expectation that, if the 9019 motion with respect to the Solomon Ward settlement,
  6   and motion seeking approval of the Second Amendment are granted, the Sanctions
  7   Motion as against Solomon Ward will go off calendar.
  8                                            II.
  9                              SCHINDLER’S POSITION
 10         Schindler has not opposed the Trustee’s 9019 motion as to Hogan Lovells
 11   and does not intend to orally oppose said motion – unless the Court disapproves the
 12   First Amendment to the Schindler Settlement agreement. That bargain is set forth in
 13   the contractual framework of the First Amendment. Likewise, Schindler does not
 14   intend to file written opposition to the Trustee’s 9019 motion with respect to
 15   Solomon Ward and does not intend to offer any oral opposition thereto unless the
 16   Court disapproves the Second Amendment. That agreement is likewise contained in
 17   the Second Amendment.
 18         Schindler’s position with respect to Arent Fox is slightly different. Schindler
 19   does not intend to file written opposition nor orally object to the Trustee’s
 20   settlement with Arent Fox. As the Trustee’s Status Report [Dkt. 605 at pp. 4 - 5]
 21   represents, however, Schindler does intend to proceed with his pending Sanctions
 22   Motion as against Arent Fox. The Trustee indicates his expectation that this Court
 23   will utilize the April 1, 2020, hearing to conduct a status conference on Schindler’s
 24   Sanctions Motion, and Schindler has no objection to doing so at that time.
 25   ///
 26   ///
 27   ///
 28   ///
                                               3
                       SCHINDLER’S STATUS REPORT FOR APRIL 1, 2020 HEARINGS
Case 18-06044-LT11   Filed 03/23/20   Entered 03/23/20 18:06:05    Doc 609     Pg. 4 of 7



  1                                           III.
  2                                    CONCLUSION
  3         Schindler does not oppose the Trustee’s settlements, unless the First
  4   Amendment or the Second Amendment is not also approved. These Amendments
  5   were consideration for Schindler’s non—opposition to the 9019 motions. If the
  6   Court conducts a status conference on Schindler’s Sanctions Motion as against
  7   Arent Fox, Schindler will be prepared to do so.
  8                                                  Respectfully Submitted,
  9

 10   Date: March 23, 2020                           VAUGHN & VAUGHN
 11

 12                                         By:      /s/ DONALD A. VAUGHN
                                                     DONALD A. VAUGHN
 13                                                  EVAN J. TOPOL
 14                                                  Attorneys for Creditor Jack Schindler
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                       SCHINDLER’S STATUS REPORT FOR APRIL 1, 2020 HEARINGS
             Case 18-06044-LT11         Filed 03/23/20    Entered 03/23/20 18:06:05   Doc 609   Pg. 5 of 7



                  1     In re Jesse Dawber, Case No. 18-06044-LT11
                        Substantively Consolidated with Case No. 19-00293-LT11
                  2

                  3                                      PROOF OF SERVICE
                  4           I, Donald Vaughn, declare as follows:
                  5           I am a citizen of the United States and am employed in the County of San
                        Diego, California. I am over the age of 18 and not a party to this bankruptcy case
                  6     or adversary proceeding. My business address is 501 West Broadway, Suite 1770,
                        San Diego, California 92101. On March 23, 2020, I served the following
                  7     document:
                  8                         JACK SCHINDLER’S STATUS REPORT
                  9     on the parties in this action as follows:
                10
                        Ron Bender on behalf of David K. Gottlieb, Chapter 11 Trustee of the Bankruptcy
                11      Estate of Jesse Wayne Dawber
                12
                        rb@lnbyb.com

                13      Anthony Bisconti on behalf of Defendant Jesse Wayne Dawber
                14      tbisconti@bienertkatzman.com

                15      Michael D. Breslauer on behalf of Debtor Class War, Inc.
                16      mbreslauer@swss.com

                17      John W. Cutchin
                18      jcutchin@san.rr.com

                19      Jesse S. Finlayson, Court-Appointed Chapter 11 Examiner
                20      jfinlayson@ftrlfirm.com

                21      M. Douglas Flahaut on behalf of Debtor Jesse Wayne Dawber
                22      flahaut.douglas@arentfox.com

                23      Lauren N. Gans on behalf of STFU Global PTE LTD
                24      lgans@shensonlawgroup.com

                25      Todd S. Garan on behalf of Creditor Bank of America
                26      tgaran@aldridgepite.com

                27

                28
V A U GHN & V A U GHN




                                                            PROOF OF SERVICE
             Case 18-06044-LT11        Filed 03/23/20   Entered 03/23/20 18:06:05   Doc 609   Pg. 6 of 7



                  1     Christopher V. Hawkins on behalf of Creditors Strategic Lighthouse Group Limited
                  2     and Drew Madacsi
                        hawkins@sullivanhill.com
                  3

                  4     Steven Jay Katzman on behalf of Defendant Jesse Wayne Dawber
                        skatzman@bienertkatzman.com
                  5

                  6     Krikor J. Meshefejian on behalf of David K. Gottlieb, Chapter 11 Trustee of the
                        Bankruptcy Estate of Jesse Wayne Dawber
                  7     kjm@lnbyb.com
                  8
                        Aram Ordubegian on behalf of Debtor Jesse Wayne Dawber
                  9     ordubegian.aram@arentfox.com
                10
                        Jonathan S. Shenson on behalf of STFU Global PTE LTD
                11      jshenson@shensonlawgroup.com
                12
                        Michael L. Turrill on behalf of Debtor Jesse Wayne Dawber
                13      michael.turrill@hoganlovells.com
                14
                        Beth Ann R. Young on behalf of David K. Gottlieb, Chapter 11 Trustee of the
                15      Bankruptcy Estate of Jesse Wayne Dawber
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                17      Christopher K.S. Wong on behalf of Debtor Jesse Wayne Dawber
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                19
                        David A. Ortiz on behalf of the United States
                20      david.a.ortiz@usdoj.gov
                21
                        United States Trustee
                22      ustp.region15@usdoj.gov
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                        Tiffany L. Carroll
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                        Elizabeth C. Amorosi
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           1    [X]   BY CM/ECF NOTICE OF ELECTRONIC FILING by causing such
           2          document(s) listed above to be served through this Court's electronic
                      transmission facilities via the· Notice of Electronic Filing (NEF) and
           3          hyperlink, to the parties and/or counsel who are determined this date to be
           4          registered CM/ECF Users set forth below as identified on the service list
                      obtained from this Court on the Electronic Mail Notice List.
           5
                [ ]   BY MAIL: I am readily familiar with the firm's practice of collection and
           6
                      processing of correspondence for_ mailing with the United States Postal
           7          Service, and that the correspondence shall be deposited with the United
                      States Postal Service this same day in the ordinary course of business
           8
                      pursuant to Code of Civil Procedure § 1013(a).
           9
                      I declare under penalty of perjury under the laws of the United States of
          10    America that the foregoing is true and correct and that I executed this Proof of
          11    Service on March 23, 2020, at San Diego,.  ·
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VAUGHN&VAUGHN




                                                 PROOF OF SERVICE
